  8:06-cr-00284-LES-TDT         Doc # 29    Filed: 09/15/06     Page 1 of 1 - Page ID # 37




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )           8:06CR284
                       Plaintiff,                  )
                                                   )
       vs.                                         )             ORDER
                                                   )
ROBERT J. LANDWEHR,                                )
SUSAN R. LANDWEHR,                                 )
JACK W. DUKE, JR. and                              )
JOY L. DUKE,                                       )
                                                   )
                       Defendants.                 )
       This matter is before the court on the motion for an extension of time by defendants
Jack W. Duke, Jr., and Joy L. Duke (Filing No. 26). The Dukes seek an extension of time
until October 9, 2006, in which to file pretrial motions pursuant to paragraph 3 of the
progression order (Filing No. 13). Upon consideration, the motion will be granted. The
deadline will be extended as to all defendants.
       IT IS ORDERED:
       1.     Defendants Dukes’ motion for an extension of time (Filing No. 26) is granted.
All defendants are given until on or before October 9, 2006, in which to file pretrial
motions pursuant to the progression order (Filing No. 13). The ends of justice have been
served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between September 15, 2006 and October 9, 2006, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendants’ counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       2.     The evidentiary hearing tentatively scheduled for 1:00 p.m. on October 4,
2006, is canceled and will be rescheduled, if necessary, following the filing of any pretrial
motions in accordance with this order.
       DATED this 15th day of September, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
